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EXHIBIT 19
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19

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From: Heather L, Gunnell [/O=DARTMOUTH HITCHCOCK MEDICAL CENTER/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPOLT)/CN=RECIPIENTS/CNSHEATHER L. GUNNELLCOS]

Sent: 4/19/2017 3:06:49 PM

To: Daniel P. Herrick [Daniel.P. Herrick @hitchcock.org]; Leslie R. DeMars [Leslie,R.DeMars@hitchcock.org]

Subject: RE: REI / IVF Action Plan

Attachments: RE| and IVF Pro-Forma Breakdown FY17.xlsx

| added a brief staffing plan for both a complete shutdown and a rebuild. My assumption is that MBP will be
refocused to Gyn U/S.

Also included the expense breakdown for the cost of keeping the lab open for 1 year.

Heather

Heather L. Gunnell

Practice Manager, OB/GYN

heather.|.qunnell@hitchcock.org
phone 603.653.9272 | fax 603.650.0906

From: Daniel P. Herrick

Sent: Wednesday, April 19, 2017 1:03 PM

To: Leslie R. DeMars <Leslie.R. DeMars@hitchcock.org>; Heather L. Gunneil <Heather.L. Gunnell @hitchcock. org>
Subject: REI / \VF Action Plan

Importance: High

Please see attached and share your thoughts on additional action items.

Daniel P. Herrick

Vice President for Perioperative and Surgical Services
Dartmouth-Hitchcock.org

phone 603.650.4233

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Sunnie Donath, RPR, LCR

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Lab Expenses - Carry 1 year for Rebuild

Line Description Annual FY18 Budget

Operating Expenses” S -
Physician Salaries S$ 254,707
Staff Salaries $ 232,209
Employee Benefits $ -
Medical Supplies S 39,500
Professional Liability S -
Occupancy S -
Other Miscellaneous $ 13,728
Purchased Services S 12,000
Other Supplies S 14,488
Depreciation and Amortization $ -
Total Operating Expenses $ 566,632
